                                                                                                         _______
                                                           ___________




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                                          Main Document    Page 1 of 23


 Attorney or Party Name, Address, Telephone & FAX Nos.,State             FOR COURT USE ONLY
 Bar No. & Email Address

 Michael Jay Berger (SBN 100291)
 Law Offices of Michael Jay Berger
 9454 Wilshire Boulevard, 6th floor
 Beverly Hills, CA 90212
 (310) 271-6223 Fax; (310) 271-9805
 michaeI.bergerbankruptcypower.com

 F] Individual appearing without attorney
 EAttorney for Debtor
                                                 UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
 In re:
                            Leslie Klein                                 CASE NO.: 2:23-bk-I 0990-SK

                                                                         CHAPTER: II


                                                                                       SUMMARY OF AMENDED SCHEDULES,
                                                                                            MASTER MAILING LIST,
                                                                                            ANDIOR STATEMENTS
                                                                                                [LBR 1007-1(c)]
                                                             Debtor(s)

A filing fee is required to amend Schedules D, or E/F (see Abbreviated Fee Schedule on the Court’s website
www.cacb.uscourts.qov). A supplemental master mailing list (do not repeat any creditors on the original) is also require/as an
attachment if creditors are being added to the Schedule D or E/F. Are one or more creditors being added?         F]
                                                                                                               Yes F’No

T/bllowing schedules, master mailing list or statements (check all that apply) are being amended:
   Schedule A/B            F]
                         Schedule C                   F]
                                                    Schedule D            F]
                                                                         Schedule E/F                  F] Schedule G
F] Schedule H              F] Schedule I              F] Schedule J       F] Schedule J-2              ‘tatement of Financial Affairs


F] Statement About Your Social Security Number(s)                         F] Statement of              F] Master Mailing List
                                                                          Intentions

F] Other (specify)
I/we declare under penalty of perjury under the laws of the United States that the amended schedules, master mailing list, and or
statements are true aI)6 correct/

 Date:




                                                             Leslie KIeir
                                                             Debtor 1 Signature

                                                             Debtor 2 (Joint Debtor) Signature (if applicable)

NOTE: It is the responsibility of the Debtor, or the Debtor’s attorney, to serve copies of all amendments on all creditors listed in this
Summary of Amended Schedules, Master Mailing List, and/or Statements, and to complete and file the attached Proof of Service of
Document.




     This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

December 2015                                                  Page 1                                 F 1007-1.1 .AMENDED.SUMMARY
                                                                                                     _____________________________

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     Fill in this information to identify your case and this filing:

     Debtor 1                      Leslie Klein
                                   First Name                               Middle Name                      Last Name

     Debtor 2
     (Spouse,      if filing>      First Name                               Middle Name                      Last Name

     United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 ‘Case number                   2:23-bk-I 0990-SK                                                                                                                     Check if this is an
                                                                                                                                                                      amended filing



 Official Form 106A/B
 Schedule A/B: Property                                                                                                                                              12/15
 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
 think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information, If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
 Answer every question.

     •.            Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1        Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

          DN0 GotoPart2.
          • Yes. Where is the property?




     11                                                                            What is the property? Check all that apply
             322 N. June Street                                                              Single-family home                       Do not deduct secured claims or exemptions. Put
                                                                                      •
             Street address if available, or other description
                                                                                            Duplex or multi-unit building             the amount of any secured claims on Schedule D.
                                                                                                                                      Creditors Who Have Claims Secured by Property
                                                                                            Condominium or cooperative


                                                                                            Manufactured or mobile home
                                                                                                                                      Current value of the       Current value of the
             Los Angeles                        CA       90004-0000                         Land                                      entire property?           portion you own?
            City                                State            ZIP Code                   Investment property                           $4,900,000.00               $2,450,000.00
                                                                                            Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                      Q Other                                         (such as fee simple, tenancy by the entireties, or
                                                                                   Who has an interest in the property? Check one     a life estate), if known.
                                                                                                                                     50% is held in by Debtor and 50%
                                                                                                                                     held by his Erika’s irrevocable marital
                                                                                            Debtor 1 only                            deduction trust
            Los Angeles                                                                     Debtor 2 only
            County                                                                          Debtor 1 and Debtor 2 only
                                                                                                                                          Check if this is community property
                                                                                     • At least one of the debtors and another            (see Instructions)
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:
                                                                                   Debtor’s principal residence; paid in full. The property is held in the
                                                                                   marital deduction trust. The Debtor’s current spouse, Barbara Klein, has a
                                                                                   life estate interest in the residence.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                 page 1
                                              _______
                                 ___________________
                                                                                             _____________________________
                                                                                                 _____________




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  Debtor 1         Leslie Klein
                                                                         Main Document    Page 3 of 23Case number (if known) 2:23-bk-I 0990-SK
         If you own or have more tha n one list here:
  1.2                                               What is the property? Check all that apply
        315 N. Martel Avenue                                                    •    Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                     the amount of any secured Claims on Schedule D:
                                                                                     Duplex or multi-unit building
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                     Condominium or cooperative

                                                                                     Manufactured or mobile home
                                                                                                                               Current value of the       Current value of the
        Los Angeles                       CA         90036-0000                 fl   Land                                      entire property?           portion you own?
        City                              State              ZIP Code           0    Investment property                            $2,500,000.00              $2,500,000.00
                                                                                0    Timeshare
                                                                                                                               Describe the nature of your ownership interest
                                                                                0    Other                                     (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one    a life estate), if known.
                                                                                •    Debtor 1 only                             100%
        Los Angeles                                                            0     Debtor 2 only
        County                                                                 C     Debtor 1 and Debtor 2 only
                                                                               0    At least one of the debtors and another
                                                                                                                               o    Check if this is community property
                                                                                                                                    Isee instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Single family residence; rental property. Debtor collects $5,500lmonth.



        If you own or have more than one, list here:
 1.3                                               What is the property? Check all that apply
        143 S. Highland Drive                                                  •     Single-family home                        Do not deduct secured claims or exemptions. Put
        Street address, if avalabte, or other description
                                                                                     Duplex or multi-unit buIlding             the amount of any secured claims on Schedule D:
                                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                                     Condominium or cooperative

                                                                                     Manufactured or mobile home
                                                                                                                               Current value of the      Current value of the
        Los Angeles                      CA         90036-0000                 Q     Land                                      entire property?          portion you own?
        City                             State              ZIP Code           0     investment property                           $2,200,000.00               $2,200,000.00
                                                                               0     Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                               0     Other                                    (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one   a life estate), if known.
                                                                               •     Debtor 1 Only                             100%
        Los Angeles                                                            0     Debtor 2 Only
        County                                                                 C     Debtor 1 and Debtor 2 only
                                                                               C   At least one of the debtors and another
                                                                                                                               o   Check if this is community property
                                                                                                                                   lsee instructions)

                                                                            Other information you wish to add about this item, such as locat
                                                                            property identification number:
                                                                            Single family residence; rental property. Debtor collects $4,000 per month
                                                                            in rental income.




Official Form 1O6AJB                                                           Schedule NB: Property                                                                      page 2
                                                                                           ____________________________
                                                                                                                   ___________




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  Debtor 1         Leslie Klein
                                                                        Main Document    Page 4 of 23Case number (if known) 2:23-bk-I 0990-SK
        If you own or have more than one, list here:
  14                                               What is the property? Check all that apply
        161 N. Poinsettia Place                                               •    Single-family home                             Do not deduct secured claims or exemptions. Put
        Street address if available, or other description
                                                                                   Duplex or multi-unit building                  the amount of any secured claims on Schedule D:
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                   Condominium or cooperative

                                                                              O    Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Los Angeles                       CA         90036-0000                    Land                                           entire property?           portion you own?
        City                              State             ZIP Code          0 investment property                                   $2,000,000.00               $2,000,000.00
                                                                              0 Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                              LJ Other                                            (Such as fee simple, tenancy by the entireties, or
                                                                            Who has an interest in the property? Check one        a life estate), if known.
                                                                              •    Debtor 1 only                                  100%
        Los Angeles                                                           0    Debtor 2 only
       County                                                                 0    Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                              0    At least one of the debtors and another         (see instructions)
                                                                            Other information you wish to add about this item, such as local
                                                                            property identification number:
                                                                            Single family residence; rental property. Debtor collects $3,000 per month
                                                                            rental income.



       If you own or have more tha n one list here:
                                                  What is the property? Check all that apply
       2560-B Whitewater Club Drive                                           0   Single-family home                             Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                              Q   Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                  Condominium or cooperative
                                                                              •

                                                                             Q    Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
       Palm Springs                      CA         92262-0000                    Land                                           entire property?           portion you own?
       City                              State              ZIP Code         0    Investment property                                   $350,000.00                 $350,000.00
                                                                             0    Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                             0    Other                                          (such as fee simple, tenancy by the entireties, or
                                                                           Who has an interest in the property? Check one        a life estate), it known.
                                                                            • Debtor 1 only                                      100%
       Riverside                                                             0    Debtor 2 only
       County                                                                0    Debtor 1 and Debtor 2 only
                                                                                                                                     Check if this is community property
                                                                             0    At least one of the debtors and another            (see instructions)
                                                                           Other information you wish to add about this item, such as local
                                                                           property identification number:
                                                                           A condo with       2    bedrooms and        2   bathrooms; vacation home.




Official Form 106A/B                                                         Schedule A/B: Property                                                                         page 3
                                                                                                                                    _____
                                                                                                                                 ________________
                                                                                                    _________________




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  Debtor 1          Leslie Klein                                                                      Case number (if known)                            2:23-bk-I 0990-SK

         If you own or have more than one, list here:
  1.6                                                                        What is the property? Check all that apply
         3752 Ocean Drive                                                       •    Single-family home                          Do not deduct secured claims or exemptions. Put
         Street address, it available, or other description
                                                                                     Duplex or multi-unit building               the amount of any secured claims on Schedule D:
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                     Condominium or cooperative


                                                                                O   Manufactured or mobile home
                                                                                                                                 Current value of the        Current value of the
        Oxnard                             CA         93035-0000                    Land                                         entire property?            portion you own?
        City                               State              ZIP Code          0   Investment property                               $2,400,000.00               $2,400,000.00
                                                                                0   Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                0   Other                                        (Such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one      a life estate), if known.
                                                                                •   Debtor 1 only                                100%
        Ventura                                                                 0   Debtor 2 Only
        County                                                                  0   Debtor 1 and Debtor 2 only
                                                                                                                                    Check if this is community property
                                                                                0   At least one of the debtors and another         (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Single family home; vacation home.


        If you own or have more tha n one list here:
 1.7                                                                         What is the property? Check all that apply
        Leonardo Plaza Hotel Jerusalem                                         D    Single-family home                           Do not deduct secured claims or exemptions. Put
        Suite 1323                                                                                                               the amount of any secured claims on Schedule D:
                                                                               Q    Duplex or multi-unit building
        Street address, it available, or other description
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                    Condominium or cooperative

                                                                               Q    Manufactured or mobile home
                                                                                                                                 Current value of the       Current value of the
        Jerusalem                                                                   Land                                         entire property?           portion you own?

        City                              State              ZIP Code          •    Investment property                                 $450,000.00                 $225,000.00
                                                                               0 Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                               • Other    Unitinahotel                           (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one      a life estate), if known.
                                                                                                                                 50% by Debtor and 50% by deceased
                                                                                    Debtor 1 only                                wife’s irrevocable trust
        Israel                                                                 0    Debtor 2 only
        County                                                                 0    Debtor 1 and Debtor 2 Only
                                                                                                                                             if this is community property
                                                                               0    At least one of the debtors and another
                                                                                                                                D Check
                                                                                                                                    (see instructions)

                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:
                                                                             Debtor owns a unit in the Leanoardo Plaza Hotel. Vacation home.




Official Form 106A/B                                                           Schedule A/B: Property                                                                        page 4
                                                                                     _______________________                                                   ________________   ____________________j

                 Case 2:23-bk-10990-SK                                    Doc 62 Filed 03/31/23 Entered 03/31/23 16:04:35                                           Desc
   Debtor 1
                                                                           Main Document    Page 6 of 23Case number (if known)
                     Leslie Klein                                                                                                                         2:23-bk-I 0990-SK
           If you own or have more than one, list here:
   1 8                                                                            What is the property? Check eli ihat apply
          Dan Boutique Hotel Jerusalem                                                     Single-family home                       Do not deduct secured claims or exemptions. Put
          Suite 505                                                                        Duplex or multi-unit building            the amount of any secured claims on Schedule D:
          Street address, if available, or other description                                                                        Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                    Current value of the       Current value of the
          Jerusalem                                                                        Land                                     entire property?           portion you own?
          Ciiy                              State              ZIP Code              D     Investment property                             $200,000.00                      $100,000.00
                                                                                           Timeshare
                                                                                                                                    Describe the nature of your ownership interest
                                                                                     •     Other       Unit in a hotel              (such as lee simple, tenancy by the entireties, or
                                                                                  Who has an interest in the property? Check one    a life estate), if known.
                                                                                                                                    50% by Debtor and 50% by deceased
                                                                                           Debtor 1 only                            spouse’s irrevocable trust
          Israel                                                                           Debtor 2 only
          County
                                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                         Check if this is community property
                                                                                         At least one of the debtors and another         lsee instruchons)
                                                                                  Other information you wish to add about this item, such as local
                                                                                  property identification number:
                                                                                  Debtor owns a unit in the Leanoardo Plaza Hotel. Vacation home.


  2.     Add the dollar value         of the portion you own for all of your entries from Part 1, including any entries for
         pages you have attached for Part 1. Write that number here
                                                                                                                                                >     L2’225’°°°°°
 I1T’ Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
 someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks,          tractors, sport utility vehicles, motorcycles

       LJ No
       • Yes


   3.1     Make’        Lexus                                             Who has an interest in the property?        Check one
                                                                                                                                    Do not deduct secured claims or exemptions. Put
                                                                                                                                    the amount of any secured claims on Schedule D:
           Model:       LS500                                              • Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
           Year.        2021                                                  Debtor 2 only                                        Current value of the       Current value of the
           Approximate mileage:                                n/a            Debtor 1 and Debtor 2 only                           entire property?           portion you own?
           Other information:                                                 At least one of the debtors and another
          Leased vehicle. Monthly
          payment is $1 ,31 9.00.                                         D   Check if this is community property                                   $0.00                               $0.00
                                                                              (see insiructions)



  3 2     Make         Lexus                                              Who has an interest in the property? Check one           Do not deduct secured claims or exemptions. Put
                                                                                                                                   the amount of any secured claims on ScheduleD;
          Model        LS                                                 U Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
          Year         2021                                                   Debtor 2 only                                        Current value of the       Current value of the
          Approximate mileage:                             n/a            D Debtor I and Debtor 2 only                             entire property?           portion you own?
          Other information:                                                  At least one of the debtors and another
          Leased vehicle. Debtor’s
          spouse drives this vehicle.                                I    E   Check if this is community property
                                                                              (see insiruciions(
                                                                                                                                                    $0.00                               $0.00
         __Mpjy_p,yment is $500.




Official Form 106A/B                                                                Schedule       A/B: Property                                                                        page 5
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     Debtor 1
                                                      Main Document    Page 7 of 23
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                  Leslie Klein

    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

       • No
       1J Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       pages you have attached for Part 2. Write that number here                                                                                   so.ool
            Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                              Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
       DNo
       • Yes. Describe

                                 Debtor’s residence: Debtor’s residence: Couches, coffee tables,
                                 dining room table with chairs, mattresses with bedframes, wall
                                 mirrors, desk with chairs, lamps, rugs, dressers, kitchen table,
                                 patio furniture, cabinets, refrigerators, and other household
                                 cioods and furnishinas                                                                                           $8,000.00


                                 2560-B Whitewater Club Drive, Palm Sping vacation home: living
                                 room sofa, table, chairs, dining room table and chairs, TV, phone,
                                 kitchen appliances, china, beds and side tables, mirrors, paintings,
                                 and miscellaneous househojgoods and furnishings.                                                                 $5,000.00


                                 3752 Ocean Drive, Oxnard CA vacation home: living room sofa,
                                 table, chairs, dining room table and chairs, TV, phone, kitchen
                                 appliances, china, beds and side tables, mirrors, paintings, and
                                 miscellaneous household goods and furnishings.                                                                   $5,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
               including cell phones, cameras, media players, games
   No
      • Yes. Describe

                                 TVs, phones, computers                                                                                          $3,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
   ci No
      • Yes. Describe

                                 Books and art objects                                                                                           $4,000.00


9     Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                musical instruments
        No
      • Yes. Describe


Official Form 1O6AIB                                          Schedule A/B: Property                                                                  page 6
             Case 2:23-bk-10990-SK                  Doc 62 Filed 03/31/23 Entered 03/31/23 16:04:35                                    Desc
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  Debtor 1       Leslie Klein                                                                                                2:23-bk-I 0990-SK


                                 Sports and Hobyy equipment                                                                                   $2,000.00


 10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
       I No
       C Yes. Describe

 11 Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       DNo
       I Yes. Describe

                                 Debtors residence: Clothes and shoes                                            I                            $2,000.00


 12, Jewelry
      Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
    DN0
       I Yes. Describe...

                                Debtor’s residence: Furs, diamond ring, gold necklace, diamond
                                earrings, gold rings and costume jewelry                                                                    $20,000.00


13     Non-farm animals
       Examples: Dogs, cats, birds, horses
       I No
       C Yes. Describe.

14     Any other personal and household items you did not already list, including any health aids you did not list
       • No
     C Yes. Give specific information


 15.    Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
        for Part 3. Write that number here
                                                                                                                                        $49,000.00


        Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                    Current value of the
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured
                                                                                                                                claims or exemptions.

16. Cash
     Examples’ Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
    • No
     C Yes

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
               institutions. If you have multiple accounts with the same institution, list each.
   DNo
   • Yes....                                                      Institution name:
                     .




                                         Checking account
                                 17.1.   ending in 9401          Bank of America                                                             $4,000.00


                                         Stock account
                                 17.2.   ending in 4523          Morgan Stanley                                                             $11,190.00



Official Form 1O6AIB                                         Schedule A/B: Property                                                               page 7
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  Debtor 1
                                                      Main Document    Page 9 of 23Case number (if known)
                Leslie Klein                            —___________________________
                                                                                                                                     2:23-bk-I 0990-SK
  18 Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     • No
     C Yes..................        Institution or issuer name:

  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
      joint venture
     DN0
     • Yes. Give specific information about them
                                  Name of entity:                                           % of ownership:

                                    Debtor has a 100% ownership interest in Bay
                                    Area Development, Co. Bay Area Development,
                                    Co. filed a chapter II bankruptcy petition on
                                    9/1212022, Case No.: 2:22-bk-I 5031-SK. On
                                    December 6, 2022, Bay Area entered into a
                                    stipulation with its secured creditor Scoft Capital
                                    Management Fund 1, LLC and OUST to dismiss
                                    the case. The order dismissing the case with a
                                    180 day bar (due to pending RFS motion) was
                                    entered on 12/6/2022. The real property owned
                                    by Bay Area Development, Co. went into
                                    foreclosure. The company currently does not
                                    own any assets.                                                         100%             %                           $0.00


                                    Debtor has a membership interest in Life Capital
                                    Group, LLC, which is an investment company.
                                    The LLC buys insurance policies on other
                                    people’s lives and upon passing, the LLC                                5%
                                    collects the funds and makes a distribution to its                  membershi
                                    members.                                                            p interest          %                     Unknown


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
   • No
    C   Yes Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   • No
    C   Yes. List each account separately.
                                Type of account:                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
   • No
   C Yes                                                      Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
    • No
   C Yes                 Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C.   §   530(b)(1), 529A(b), and 529(b)(1).
   • No
   C Yes                    Institution name and description. Separately file the records of any interests.11 U.S.C.   §   521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
   C No
Official Form 1O6AIB                                          Schedule NB: Property                                                                  page 8
                                                                                           _________            _____




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  Debtor 1     Leslie Klein                                                                          Case number (if known)   2:23-bk-I 0990-SK

    I Yes. Give specific information about them...

                                         Klein Living Trust dated April 8, 1990. The Settlors of the Trust are
                                         Leslie Klein and Erika Noemi Klein, husband and wife. Erika Klein
                                         passed away several years ago, and pursuant to the trust
                                         provision,Erika Klein’s interest in the assets is now in an
                                         irrevocable trust (“Marital Deduction Trust”). The assets of the
                                         trust are listed on Schedule NB, item #1 for each property that is
                                         ph[ust.                                                                                 —                    $0.00


 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
     Examples. Internet domain names, websites, proceeds from royalties and licensing agreements
    • No
    EJ Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
    Examples. Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
    • No
      Yes. Give specific information about them...

 Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                     portion you own?
                                                                                                                                     Do not deduct secured
                                                                                                                                     claims or exemptions.

28. Tax refunds owed to you
    • No
    D Yes. Give specific information about them, including whether you already filed the returns and the tax years


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    • No
    EJ Yes. Give specific information

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
   DN0
    • Yes. Give specific information..

                                               Isaac Kirzner. Debtor entered into an agreement with Isaac
                                               Kirzner whereby he paid the insurance premiums for Mr.
                                             I Kirzner, and upon Mr. Kirzner’s passing, the Debtor would
                                               receive $1 Million. The current Trustee is Sol Majer.                                        $1,000,000.00


                                             Judith Bittman. Debtor entered into an agreement with
                                             Judith Bittman whereby he paid the insurance premiums for
                                             Ms. Bittmanm and upon Ms. Bittman’s passing, the Debtor
                                             would receive $1 Million. The current Trustee is Sol Majer.                                    $1,000,000.00


                                             Debtor intends to file a complaint against Frank Menlo for
                                             unpaid trustee fees in the amount of $3,000,000.00             -I
                                             $4,000,000.00. Debtor is unlikely to collect due to the ongoing
                                             litigation with Mr. Menlo.                          .
                                                                                                                        —                        Unknown


31. Interests in insurance policies
     Examples. Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   • No
Official Form 106A/B                                        Schedule AIB: Property                                                                   page 9
                                                               _________—___________________




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  Debtor 1          Leslie Klein                                                                                 Case number (if known)   2:23-bk-I 0990-SK

       D Yes Name the insurance company of each policy and list its value.
                                              Company name:                                             Beneficiary:                          Surrender or refund
                                                                                                                                              value:

 32. Any interest in property that is due you from someone who has died
      If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
     someone has died.
       • No
       D Yes. Give specific information..

 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
       • No
       D Yes. Describe each claim
 34    Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       • No
       D Yes. Describe each claim
35. Any financial assets you did not already list
   • No
       D Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here
                                                                                                                                          L
I2TiI. Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.                       —____________________________




37     Do you own or have any legal or equitable interest in any business-related property?
      •No GotoPart6
      C Yes Go to line 38


              Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        • No. Go to Part 7.
        C Yes. Go to line 47


Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       • No
       C   Yes. Give specific information


 54.       Add the dollar value of all of your entries from Part 7. Write that number here                                                                $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                         page 10
                                                                             ___     ________
                                                    _      ___________
                                    ___________




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 Debtor 1       Leslie Klein                                                                                                    2:23-bk-I 0990-SK

ITil:         List the Totals of Each Part of this Form

 55.    Part I: Total real estate, line 2                                                                                                 $12,225,000.00
 56.    Part 2: Total vehicles, line 5                                                       $0.00
 57.    Part 3: Total personal and household items, line 15                             $49,000.00
 58.    Part 4: Total financial assets, line 36                                      $2,01 5,190.00
 59.    Part 5: Total business-related property, line 45                           —______   $0.00
 60.    Part 6: Total farm- and fishing-related property, line 52                            $0.00
 61.    Part 7: Total other property not listed, line 54                       +             $0.00

 62. Total personal property. Add lines 56 through 61...                             $2,064,1 90.00   Copy personal property total    -    $2,064,1 90.00


 63.    Total of all property on Schedule AIB. Add line 55     +   line 62                                                            $14,289,190.00




Official Form 1 06A/B                                           Schedule A/B: Property                                                              page 11
                                     ________
                                                      ___________________________________
                                                                       ___________
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                                                                                                        _   ___________
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 Fill in this information to identify your case:


 Debtor 1                        Leslie_Klein
                                 Fst Name     —   —              Middle Name                    Last Name

 Debtor 2
 (Spouse if. tiling)             First Name                      Middle Name                    Last Name


 United States Bankruptcy Court for the:                    CENTRAL DISTRICT OF CALIFORNIA

 Case number                  2:23-bk-10990-SK                                                                                                         /
    it   known)                                                                                                                                     f” Check if this is an
                                                                                                                                                        amended filing
L                                                                                                                                   -




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                         04122

Be as complete and                  accurate as possible.If two married people are filing together, both are equally responsible for supplying correct
                                                                                                                         pages, write your name and case
information.              If more   space is needed, attach a separate sheet to this form. On the top of any additional
number            (if   known). Answer every question.


Give Details                          About Your Marital Status and Where You Lived Before


1.         What         is your current marital status?


           I       Married
           C       Not married

2.         During the last       3   years, have you lived anywhere other than where you live now?


           I       No
           C       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                                                                                     I            Debtor 2 Prior Address:                                   Dates Debtor 2
            Debtor 1:                                                Dates Debtor
                                                                     lived there                                                                            lived there

                                                                                                                       territory? (Community property
3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or
                                                                                                              Washington and Wisconsin.)
states and territories inc)ude Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,

           CN0
           •       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 -.                     Explain the Sources of Your Income

                                                                                                                               calendar years?
4.         Did you have any income from employment or from operating a business during this year or the two previous
           Fill in the total amount of income you received from all jobs and all businesses,   including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           C       No
           •       Yes. Fill in the details.

                                                          Debtor I                                                          Debtor 2
                                                          Sources of income                Gross income                     Sources of income               Gross income
                                                          Check all that apply.            (before deductions and           Check all that apply.           (before deductions
                                                                                           exclusions)                                                      and exclusions)

 From January 1 of current year until                     C Wages, commissions,                         $4,000.00           C Wages, commissions,
 the date you filed for bankruptcy:                       bonuses, tips                                                     bonuses, tips

                                                          • Operating a business                                            C Operating a business




                                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 1
Official Form           107
                                                                                          ______
                                                                              ____
                                                               ___________
                                         __________




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 Debtor 1     Leslie Klein                                                                               Case                     _2:23-bk-10990-SK



                                                  Debtor I                                                       Debtor 2
                                                  Sources of income               Gross income                   Sources of income                Gross income
                                                  Check all that apply.           (before deductions and         Check all that apply.            (before deductions
                                                                                  exclusions)                                                     and exclusions)

 For last calendar year:                          Q Wages, commissions,                       $24,000.00           Wages, commissions,
 (January ito December 31, 2022)                  bonuses, tips                                                  bonuses, tips

                                                  • Operating a business                                         D Operating a business


 For the calendar year before that:               1i Wages, commissions,                      $24,000.00           Wages, commissions,
 (January ito December 31, 2021 )                 bonuses, tips                                                  bonuses, tips

                                                  • Operating a business                                         D Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
                                                                                                                                      Security, unemployment,
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social
               public  benefit  payments;   pensions; rental income; interest; dividends; money collected  from lawsuits; royalties; and gambling and lottery
     and other
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line
                                                                                                                      4.

      No
      •     Yes. Fill in the details.

                                                  Debtor I                                                       Debtor 2
                                                  Sources of income               Gross income from              Sources of income                Gross income
                                                  Describe below,                 each source                    Describe below.                  (before deductions
                                                                                  (before deductions and                                          and exclusions)
                                                                                  exclusions)
 From January 1 of current year until             Social Security                               $6,666.00
 the date you filed for bankruptcy:

                                                  Rental Income                               $25,000.00


 For last calendar year:                          Social Security                             $40,000.00
 (January 1 to December 31, 2022)

                                                  Rental Income                              $144,000.00


 For the calendar year before that:               Social Security                             $40,000.00
 (January 1 to December 31, 2021

                                                  Rental Income                              $144,000.00


              4st ce      jn Pa          You Made Before you F iled or Bank ruptcy

6.   Are either Debtor l’s or Debtor 2’s debts primarily consumer debts?
     I No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C.                           §   101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”
                                                                                                        $7,575* or more?
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of
                    • No.         Go to line 7.
                                                                                          $7,575* or more in one or more payments and the total amount you
                          Yes     List below each creditor to whom you paid a total of
                                  paid  that creditor. Do not include payments    for domestic support obligations, such as child support and alimony. Also, do
                                  not include payments to an attorney    for this  bankruptcy case.
                                                                                                                                adjustment.
                    *
                        Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of




                                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 2
Official Form 107
                                                                                     _______          __________
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 Debtor 1      Leslie Klein




      D     Yes.    Debtor I or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.      Go to line 7.
                         Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                  include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                  attorney for this bankruptcy case.


       Creditor’s Name and Address                        Dates of payment             Total amount          Amount you     Was this payment for
                                                                                               paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

      •No
      D     Yes. List all payments to an insider.
       Insiders Name and Address                          Dates of payment             Total amount          Amount you     Reason for this payment
                                                                                               paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

      •     No
            Yes. List all payments to an insider
       Insider’s Name and Address                         Dates of payment             Total amount          Amount you     Reason for this payment
                                                                                               paid            still owe    Include creditor’s name

                                                           and   Foreclosures




9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

      No
      •     Yes. Fill in the details.
       Case title                                         Nature of the case          Court or agency                       Status of the case
       Case number
       In re Matter of the Franklin Henry                 Trust                       Superior Court of California          I Pending
       Menlo Irrevocable Trust, et al. v.                                             III Hill St.                          D    On appeal
       Leslie Klein                                                                    Los Angeles, CA 90012                     Concluded
       BP136769

       The Scott Trust DTD 12/24/1 992           -        Trust                       Superior Court of California          I Pending
       Trust                                                                          111 Hill St.                          D    On appeal
       BPI72432                                                                       Los Angeles, CA 90012                      Concluded


      Joseph Vago, Et Al vs. Leslie Klein                 Fraud                       Superior Court of California               Pending
      20STCV25050                                                                     III Hill St                           •    On appeal
                                                                                      Los Angeles, CA 90012                      Concluded


       Leslie Klein, et al v. Rechnitz, et al                                                                                    Pending
       22STCVI 8787                                                                                                         EJ   On appeal
                                                                                                                                 Concluded




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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                                                                                 __                 __________
                                                                                                     __________
                                                                              ___________
                                                                            _______
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                                                                     ______
                                                   ______




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 Debtor 1        Leslie Klein


10.   Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

      •     No. Go to line 11.
      D     Yes. Fill in the information below.
       Creditor Name and Address                            Describe the Property                                 Date                   Value of the
                                                                                                                                            property
                                                            Explain what happened

11.   Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
      accounts or refuse to make a payment because you owed a debt?
      I     No
      D     Yes. Fill in the details.
       Creditor Name and Address                            Describe the action the creditor took                 Date action was            Amount
                                                                                                                  taken

12.   Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
      court-appointed receiver, a custodian, or another official?
      •     No
      D     Yes

List               certan Gifts and_Contributions                      -_____




13.   Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
      • No
      E1 Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600        Describe the gifts                                Dates you gave                      Value
       per person                                                                                          the gifts

      Person to Whom You Gave the Gift and
      Address:

14.   Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
      • No
      Li Yes. Fill in the details for each gift or contribution.
                                                               Describe what you contributed                Dates you                       Value
       Gifts or contributions to charities that total
       more than $600                                                                                       contributed
      Charity’s Name
      Address INumber, Street, City, State and ZIP Code)

             List Certain Losses             --




15.   Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
      or gambling?

      •     No
      Li    Yes. Fill in the details.
      Describe the property you lost and               Describe any insurance coverage for the loss               Date of your      Value of property
      how the loss occurred                                                                                       loss                           lost
                                                       Include the amount that insurance has paid. List pending
                                                       insurance claims on line 33 of Schedule A/B: Property,

                            Payments or Transfers

16    Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
      consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

      Li    No
      •     Yes Fill in the details.
        Person Who Was Paid                           Description and value of any property                       Date payment            Amount of
        Address                                       transferred                                                 or transfer was          payment
        Email or website address                                                                                  made
        Person Who Made the Payment, if Not You
Official Form 107                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
                                                                          ______




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 Debtor 1      Leslie Klein                                                                                                        2:23-bk-I



       Person Who Was Paid                                         Description and value of any property                    Date payment              Amount of
       Address                                                     transferred                                              or transfer was            payment
       Email or website address                                                                                             made
       Person Who Made the Payment, if Not You
       Law Offices of Michael Jay Berger                           Attorney Fees                                            2/15/2023 +              $21,738.00
       9454 Wilshire Boulevard, 6th floor                                                                                   the filing fee
       Beverly Hills, CA 90212
       michael.berger@bankruptcypower.com


       Levene, Neale, Bender, Yoo &                                $15,000.00 for legal services                            01/2023                  $15,000.00
       Golubchik
       2818 La Cienega Ave
       Los Angeles, CA 90034



17.   Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
      promised to help you deal with your creditors or to make payments to your creditors?
      Do not include any payment or transfer that you listed on line 16,

      •     No
      D     Yes. Fill in the details.
       Person Who Was Paid                                         Description and value of any property                    Date payment              Amount of
       Address                                                     transferred                                              or transfer was            payment
                                                                                                                            made

18.   Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
      I     No
      D     Yes. Fill in the details.
       Person Who Received Transfer                                Description and value of                   Describe any property or         Date transfer was
       Address                                                     property transferred                       payments received or debts       made
                                                                                                              paid in exchange
       Persons relationship to you

19.   Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
      beneficiary? (These are often called asset-protection devices.)
      I     No
            Yes. Fill in the details.
       Name of trust                                               Description and value of the property transferred                           Date Transfer was
                                                                                                                                               made

 -.;          List of certain Financial Accounts, Instruments, Satpposit Boxes, and Storage Units

20.   Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
      sold, moved, or transferred?
      Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
      houses, pension funds, cooperatives, associations, and other financial institutions.
      I     No
      D     Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was              Last balance
      Address (Number, Street, city, State and ZIP           account number              instrument                   closed, sold,             before closing or
      code)                                                                                                           moved, or                          transfer
                                                                                                                      transferred




                                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 5
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                                                                                                   _     _____
                                                                                                            ______
                                                                                             ___________
                                                                                       ___________
                                ______   _______




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 Debtor 1     Leslie Klein


21.   Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
      cash, or other valuables?

      •No
      D     Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?                     Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                                have it?
                                                                     State and ZIP Code)


22.   Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

      •No
      D     Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access                     Describe the contents          Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                        have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


I1TI         IdPpty You Hold or Control for Someone Else
                                                                                                                      for, or hold in trust
23.   Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing
      for someone.

      •No
      D     Yes. Fill in the details.
                                                                     Where is the property?                         Describe the property                     Value
       Owner’s Name
                                                                     (Number, Street, City, State and ZIP
       Address (Number, Street, City, State and ZIP Code)
                                                                     Code)


I1T[I Give Details About Environmental_Information

For the purpose of Part 10, the following definitions apply:

                                                                                                                     n, releases of hazardous or
•     Environmental law means any federal, state, or local statute or regulation concerning pollution, contaminatio
                                                                                                                   including statutes or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
      regulations controlling the cleanup of these substances, wastes, or material.
                                                                                                                      operate, or utilize it or used
I     Site means any location, facility, or property as defined under any environmental law, whether you now own,
      to own, operate, or utilize it, including disposal sites.
                                                                                                                         toxic substance,
•     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance,
      hazardous material, pollutant, contaminant, or    similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.
                                                                                                                   an environmental law?
24.   Has any governmental unit notified you that you may be liable or potentially liable under or in violation of

      INo
      D Yes. Fill in the details.
                                                                     Governmental unit                                 Environmental law, if you   Date of notice
       Name of site
      Address (Number, Street, City, State and ZIP Code)             Address (Number, Street,     City, State and      know it
                                                                     ZIP Code)


25.   Have you notified any governmental unit of any release of hazardous material?

      •     No
      D     Yes. Fill in the details.
                                                                     Governmental unit                                 Environmental law, if you   Date of notice
      Name of site
      Address (Number, Street, City, State and ZIP Code)             Address (Number, Street,     City, State and      know it
                                                                     ZIP code)




                                                    Statement   of   Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
Official Form 107
                                                                                                                         _____
                                                                                                __
                                                                                            _______      ___________
                                                                    ___             _______
                                                                                    ___________
                                                     ________
                                                         ___________
                          ____—
                              ___________
                               _______




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26.    Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

        •No
        D Yes. Fill in the details.
        Case Title                                                    Court or agency                        Nature of the case                           Status of the
        Case Number                                                   Name                                                                                case
                                                                      Address (Number, Street,   City,
                                                                      State and ZIP Code)


               Give Details About Your Business or Connections to Anyiness

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
         D A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             D    A member of a limited liability company (LLC) or limited liability partnership (LLP)
             CI   A partner in a partnership
             CI   An officer, director, or managing executive of a corporation
             CI   An owner of at least 5% of the voting or equity securities of a corporation

       CI    No. None of the above applies. Go to Part 12.
       •     Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business              Employer Identification number
        Address                                                                                                   Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP code)               Name of accountant or bookkeeper
                                                                                                                  Dates business existed
        Bay Area Development, Co.                                real estate holding company                      EIN:      XX-XXXXXXX
        14245 Ventura Blvd
                                                                                                                  From-To
        Sherman Oaks, CA 91423

        Life Capital Group, LLC                                  investment company                               EIN:
        7223 Beverly Blvd., Suite 205
                                                                                                                  From-To
        Los Angeles, CA 90036


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

       ‘No
       CI Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

                                                                                                         —-                        -
                                                 -   ----——.-




I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. § 152, 1341, 1519, and 3571.


 Leslie Klein                                                             Signature of Debtor 2
 Signature of Debtor I

 Date
                                                                          Date

Did you attach additional pages to Your Statement of FinancialAffairs for Individuals Filing for Bankruptcy (Official Form 107)?
•No
CI    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
• No

Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 7
                                       ______




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  Debtor 1     Leslie Klein                                                  Case number (if known)                     2:23-bk-I 0990-SK



    Yes. Name of Person            Attach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Officia’ Form 119).




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 8
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Boulevard, 6th floor
Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify): Summary of Amended Schedules, Master
Mailing List, and or Statements will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and IFBR, he foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) -

              J 31 I3 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the fofloWirtglpersons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
           ‘,




below:



                                                                                  [1   Service information continued on attached
page

2. SERVED BY UNITED STATES MAIL: On (date)                    I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                  fl Service information continued on attached
page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.RCivP. 5 and/or controlling LBR, on (date)            I served the following
                                                                                                        ___,




persons and/or   entities by personal delivery, overnight mail service, or (for those who consented in  writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                  ffl Service information continued on attached
page

I declare un9er penalty of perjury under the Jaws of the United States of America that the foregoing is true and correct.
   2L’J/_Z                  Yathida Nipha                                     IsIYathida Nipha
Datd                          Printed Name                                               Signature




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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Case 2:23-bk-10990-SK                  Doc 62 Filed 03/31/23 Entered 03/31/23 16:04:35                                      Desc
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 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Goe Forsythe & Hodges: Reem J Bello rbellogoeforlaw.com, kmurphygoeforlaw.com
Goe Forsythe & Hodges Robert P Goe kmurphygoeforIaw.com,
rgoegoefor1aw. com;goeforecfgmai I. corn
Interested Party: Alan G Tipple Alan.Tippiegm1aw.corn,

 denise.waIkergm1aw.com
 Debtor’s Counsel: Michael Jay Berger rnichae1.bergerbankruptcypower.com,
 yathida.niphabankruptcypower.com;rnichae1.bergerecfinforuptcy.com
 Interested Party: Greg P Campbell chi 1ecfaIdridgepite.com,
 gcecf. inforuptcy.corn;gcampbeI1a1dridgepite.corn
 Counsel for Wilmington Savings Fund: Theron S Covey tcoveyras1g.com, sferryras1g.com
 Interested Party: Dane W Exnowski dane.exnowski@mcca11a.com,
 bk.ca@mccalla.com,rnccallaecf@ecf.courtdrive.com
 U.S. Trustee: Michael Jones rnichael.jones4usdoj.gov
 U.S. Trustee: Ron Maroko ron.marokousdoj.gov
Counsel for Ajax Mortgage: Joshua L Scheer jscheerscheer1awgroup.com,
jscheer@ecf.courtdrive.com
Subchapter V Trustee: Mark M Sharf (TR) mark@sharflaw.com,
Cl 88@ecfcbis.com;sharfl O0Ogmai1.com
United States Trustee (LA) ustpregion6.1a.ecf@usdoj.gov
Interested Party: Michael L Wachtell rnwachtell@buchalter.com
U.S. Bank: John P. Ward jwardatt1eseystorrn.com, ezhangatt1eseystorm.corn
Interested Party: Paul P Young paul@cym.law, jaclyn@cym.law




   This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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